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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,


       vs.
                                                            CRIM. NO. 15-CR-30032-MGM
RITA LUTHRA

                       Defendant.


                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
               MOTION TO DISMISS THE SUPERSEDING INDICTMENT

        The Court should deny the defendant’s motion to dismiss the superseding indictment.

Dkt. No. 135. The defendant’s argument that Count One fails to allege that she did anything

wrong, and that she (in fact) did not do anything wrong is based on a mistaken reading of the

superseding indictment and the law. Similarly, the defendant’s allegations that Counts One

through Three do not state an offense, are duplicitous, and lack specificity, all fail in the face of

a superseding indictment that sufficiently apprises the defendant of the allegations against her.

Similarly, there is no basis for the defendant’s argument that the superseding indictment be

dismissed due to the alleged government’s misconduct before the grand jury because the

government was entitled to introduce evidence of its investigation into Warner Chilcott, and the

defendant’s relationship with Warner Chilcott, as context for the allegations in Count Three.1




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         The defendant also asked the Court to dismiss the superseding indictment because the
delay in bringing the case to trial allegedly violates her Sixth Amendment right to a speedy trial.
See Defendant’s Motion to Dismiss Superseding Indictment at 29-31. This precise issue was
recently briefed and is currently pending before the Court. See Defendant’s Rule 59 Objections
to the Magistrate Judge’s Ruling on the Motion to Exclude Time, Dkt. No. 128, and the
Government’s Opposition, Dkt. No. 128. As such, the government is not going to reiterate its
opposition to the defendant’s argument in this pleading unless the Court so desires.
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                                    FACTUAL BACKGROUND

       In the course of an investigation into the sales and marketing practices of Warner

Chilcott, a New Jersey-based pharmaceutical company, the government learned that Warner

Chilcott paid the defendant as a “speaker” despite the fact that she did not speak to other

physicians. See Dkt No. 89 (Superseding Indictment ¶¶ 5-6 (hereinafter, “S. Indict. ¶ __”)). In

addition, the government learned that the defendant allowed a Warner Chilcott sales

representative to access her patients’ medical files for the purpose of assisting in filling out prior

authorization forms that were necessary to ensure that insurance companies paid for Warner

Chilcott’s drug. S. Indict. ¶ 14.

       In or around February 10, 2014, Special Agents from the Department of Health and

Human Services interviewed the defendant. S. Indict. ¶ 17. The defendant told the Special

Agents that Warner Chilcott paid her to read studies and provide her opinion on the studies. Id.

The defendant also told the Special Agents that Sales Representative #1 assisted with prior

authorizations, but did not have access to patients’ protected health information. Id. After being

interviewed by the Special Agents, the defendant called Medical Assistant #1, reported that the

Warner Chilcott sales representative got them in trouble, and directed Medical Assistant #1 to

tell the Special Agents that she did not share any medical records. Id. The next day, the

defendant again ordered Medical Assistant #1 to tell the Special Agents that they did not show

any medical records to Sales Representative #1, and told Medical Assistant #1 that there was a

HIPAA law and there would be hefty fines for them both if people found out they shared medical

records. Id.

       On March 7, 2014, Special Agents interviewed the defendant a second time. During this

interview, the defendant told the Special Agents that Warner Chilcott paid her $3,250 in 2010 for



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training to become a speaker and $19,500 in 2011 for a research paper that she wrote on

“Osteoporosis Prevention and How to Identify Patients and Achieve Compliance.” S. Indict.

¶ 21.

                               PROCEDURAL BACKGROUND

        On October 21, 2015, a federal grand jury returned an indictment charging the defendant

with one count of receiving kickbacks in violation of 42 U.S.C. §1320a-7b (Count One), one

count of wrongful disclosure of individually identifiable health information, in violation of 42

U.S.C. § 1320d-6 (Count Two), and one count of obstruction of a criminal health care

investigation, in violation of 18 U.S.C. § 1518 (Count Three). See Dkt. No. 3.

        On July 7, 2017, the defendant filed a motion to dismiss the indictment, arguing that the

three counts were duplicitous and did not contain sufficient information to inform her of the

nature of the charges against her. See Dkt. No. 87. The government opposed this motion, see

Dkt. No. 91, and the Court denied the defendant’s motion to dismiss, see Dkt. No. 100.

        On August 1, 2017, a grand jury returned a superseding indictment charging the

defendant with wrongfully disclosing individually identifiable health information, in violation of

42 U.S.C. § 1320(d)-6(a) (Count One), witness tampering, in violation of 18 U.S.C. § 1512(b)(3)

(Count Two), and obstruction of a criminal health care investigation, in violation of 18 U.S.C.

§ 1518 (Count Three). See Dkt. No. 89 (Superseding Indictment).

        Despite the fact that the superseding indictment charges a smaller subset of the same

conduct as the original indictment, the defendant once again argues that the superseding

indictment fails to state an offense, and that the three counts are so duplicitous and vague that

she does not know what she is charged with doing and, as such, cannot prepare a defense. The

defendant’s arguments, in a nutshell, are as follows: Count One fails to state an offense because



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it does not allege that she did anything wrong, and she did not; Count Two fails to state an

offense because the defendant was lawfully directing Medical Assistant #1 to invoke her Fifth

Amendment right against self-incrimination; and Count Three fails to state an offense because it

does not allege that the defendant made a false statement to investigators. In addition, the

defendant argues that the superseding indictment violates her Sixth Amendment right to a

speedy trial, and that the government’s conduct before the grand jury mandates dismissal of the

indictment. The defendant’s arguments are based on a misconception of the superseding

indictment and the law. For these reasons, and those set forth in greater detail below, the Court

should deny the defendant’s motion to dismiss the superseding indictment.

                                          ARGUMENT

I.     THE SUPERSEDING INDICTMENT SPECIFICALLY ALLEGES THREE
       DIFFERENT CRIMES AND SUFFICIENTLY APPRISES THE DEFENDANT OF
       THE CHARGES SHE IS FACING

       Indictments must contain "a plain, concise and definite written statement of the essential

facts constituting the offense charged." Fed. R. Crim. P. 7(c)(1). As such, an indictment may

track statutory language as long as it also includes the facts and circumstances surrounding the

offense. United States v. Savarese, 686 F.3d 1, 6 (1st Cir. 2012); United States v. Cranney, No.

14-cr-10276-IT, 2016 U.S. Dist. LEXIS 41164, at *14 (D. Mass. Mar. 29, 2016) (quoting United

States v. Troy, 618 F.3d 27, 34 (1st Cir. 2010)). “An indictment does not need to contain the

level of detail that Defendant requests…It is enough that the indictment contains a ‘clear and

specific description of the [crime]’ which ‘need not be pleaded with all the certainty in respect of

time, place, and circumstance.’” Cranney, No. 14-cr-10276-IT, 2016 U.S. Dist. LEXIS 41164,

at *14 (D. Mass. Mar. 29, 2016) (quoting United States v. Azad, 809 F.2d 291, 295 (6th Cir.

1986)). The “test for sufficiency [of the indictment] is not whether, in hindsight, the indictment



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or information could have been more complete….but whether it fairly identifies and describes

the offense.” United States v. Allard, 864 F.2d. 248, 250 (1st Cir. 1989).

        A.      Count One Alleges that Defendant Allowed Sales Representative #1 to Access her
                Patients’ Medical Records in Violation of HIPAA

        Defendant argues that Count One, charging her with wrongfully disclosing individually

identifiable health information, “fails to inform [her] of the specific offense or offenses of which

she is accused” such that “she is unable to prepare her defense.” Dkt. No. 136 (Defendant’s

Memorandum in Support of Motion to Dismiss, at 15 (hereinafter, “Def. Mot. at __”)). Both the

factual and statutory bases for the charge are clear from the indictment. The indictment alleges

that the defendant “did knowingly and without authorization disclose protected individually

identifiable health information relating to an individual, that was maintained by a covered entity,

as defined in 45 C.F.R. § 160.103, to another person, to wit: Warner Chilcott Sales

Representative #1.” S. Indict. ¶ 12. This language closely tracks, and is nearly identical to, the

statutory language of 42 U.S.C. § 1320d-6(a)(3). In addition, the indictment alleges the

following facts: (1) that the offense took place between January 2011 and November 2011 (s.

indict. ¶ 12); (2) that the defendant is a covered entity (s. indict. ¶ 8); (3) that Warner Chilcott

launched a drug that was not covered by insurance without a prior authorization (s. indict. ¶ 13);

and (4) that the defendant asked Sales Representative #1 to help Medical Assistant #1 fill out

prior authorization forms, and, in doing so, gave Sales Representative #1 access to her patients’

protected health information (s. indict. ¶ 14).

        The defendant argues that Count One does not state an offense because it does fails to

allege that she was not allowed to share medical records with a pharmaceutical sales

representative (i.e., that she did something she was not supposed to do). However, the

superseding indictment makes clear that, “[b]ecause PAs contain sensitive medical information,

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the PA process was restricted to the patient, the physician (and the physician’s staff), and the

insurance company.” S. Indict. ¶ 10. The superseding indictment then alleges that the defendant

asked Sales Representative #1 (not a patient, physician, member of the physician’s staff, or

insurance company) to assist with the PAs. S. Indict. ¶ 14. The superseding indictment

undoubtedly alleges that the defendant shared her patients’ protected health information with a

pharmaceutical sales representatives, which she was not supposed to.

       In any event, even if the Court were to find that the superseding indictment should have

more specifically alleged that the defendant shared protected health information when she was

not supposed to, the error is harmless because the defendant clearly understands the charges

against her. See United States v. Yefsky, 994 F.2d 885, 894 (1st Cir.1993) (applying harmless

error review where indictment did not give the defendant adequate notice of the charges against

him, but where adequate notice had been given prior to trial); see also United States v. Barbato,

471 2d. 918, 921 (1st Cir. 1973) (citing United States v. Silverman, 430 F.2d 106, 111-112 (2d

Cir. 1970)) (“Although it is generally the better practice, [the] elements [of an offense] need not

always be set forth in haec verba. Indictments ‘must be read to include facts which are

necessarily implied by the specific allegations made.’”).

       The defendant’s next argument – that Count One fails as a matter of law because she is

allowed to share her patients’ medical records with pharmaceutical companies and their sales

representatives – misunderstand HIPAA law and regulations. The defendant argues that she is

allowed to share her patients’ medical records with pharmaceutical companies and their sales

representatives because (1) sharing medical records is necessary for the “treatment” of her

patients, (2) pharmaceutical companies are “health care providers,” and (3) pharmaceutical




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companies and their sales representatives are her “business associates.” This argument is simply

not supported by the HIPAA statute and enacting regulations.

       The purpose of the HIPAA statute, among other things, is to limit the circumstances in

which patients’ protected health information can be used, obtained, or disclosed. While federal

regulations allow health care providers and other covered entities to disclose protected patient

information in certain instances, the three exceptions cited by the defendant do not apply to the

conduct charged in the superseding indictment: allowing Sales Representative #1 to access the

defendant’s patients’ medical files for the purpose of assisting her Medical Assistant in filling

out Prior Authorizations.

               1.       The “Treatment” Exception Does Not Allow a Pharmaceutical Sales
                        Representative to Access Patients’ Medical Records for Purposes of
                        Completing Administrative Paperwork

       45 C.F.R. § 164.502(a)(1) provides that a “covered entity is permitted to use or disclose

protected health information… (ii) for treatment, payment, or health care operations, as

permitted by and in compliance with § 164.506.” 45 C.F.R. § 164.506(c)(1) provides that a

“covered entity may use or disclose protected health information for its own treatment, payment,

or health care operations.” 45 C.F.R. § 164.501 defines “treatment,” as used in 45 C.F.R.

§ 164.506(c)(1), as “the provision, coordination, or management of health care and related

services by one or more health care providers, including the coordination or management of

health care by a health care provider with a third party; consultation between health care

providers relating to a patient; or the referral of a patient for health care from one health care

provider to another.”

       In this definition, “treatment” refers to conduct relating to the substantive treatment of a

patient – the provision of health case itself, and the coordination and/or management of a



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patient’s care. Notably, the interpretation of the treatment provision by the United States

Department of Health and Human Services (“HHS”) is consistent with this interpretation: HHS

describes “treatment” as “the provision, coordination, or management of health care and related

services for an individual by one or more health care providers, including consultation between

providers regarding a patient and referral of a patient by one provider to another.2

       This definition does not suggest that “treatment” includes administrative paperwork of

the nature that the defendant is alleged to have allowed Sales Representative #1 to perform. The

defendant is not alleged to have sought Sales Representative #1’s input on whether to prescribe

Warner Chilcott’s drug. Rather, once she did, she is alleged to have allowed Sales

Representative #1 to review her patients’ medical files for the purpose of completing

administrative paperwork relating to the whether an insurance company would pay for Warner

Chilcott’s drug, or require the patient to pay out of pocket for the drug.

               2.      Pharmaceutical Companies are not Health Care Providers for the
                       Purposes of the “Health Care Provider” Exception in 45 C.F.R.
                       164.506(c)(3)

       The defendant also argues that she was entitled to share her patients’ medical records

with Sales Representative #1 because Warner Chilcott, as a pharmaceutical provider, is a “health

care provider” to whom disclosures of patients’ protected information may be shared. The

defendant relies on 45 C.F.R. § 164.506(c)(3), which provides that a “covered entity may

disclose protected health information to another covered entity or a health care provider for the

payment of activities of the entity that receives the information.” However, 45 C.F.R. § 160.103

specifically defines “health care provider,” as used in 45 C.F.R. 164.506(c)(3), as “a provider of


       2
         See Permitted Uses and Disclosures, https://www.hhs.gov/hipaa/for-
professionals/privacy/laws-regulations/index.html

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services (as defined in … 42 U.S.C. 1395x(u)), a provider of medical or health services (as

defined in … 42 U.S.C. 1395x(s)), and any other person or organization who furnishes, bills, or

is paid for health care in the normal course of business.”

       A pharmaceutical company is not a provider of services, as defined in 42 U.S.C.

§ 1395x(u), and is not a provider of medical or health services, as defined in 42 U.S.C.

§ 1395x(3). Nor is a pharmaceutical company an organization or entity that “furnishes, bills, or

is paid for health care in the normal course of business.” While the term “health care” is defined

to include the “sale or dispensing of a drug… in accordance with a prescription,” see 45 C.F.R.

§ 160.103, the term “sale or dispensing” more logically applies to pharmacists, as opposed to

manufacturers of pharmaceutical companies. While a pharmaceutical company manufactures

and sells prescription drugs to pharmacies and insurance companies, pharmaceutical companies

are not health care providers as defined in the above referenced regulations and in the context of

the conduct alleged in the superseding indictment. Indeed, the language of the “health care

provider” exception – “for the payment of activities of the entity that receives the information” –

suggests that this exception is intended to apply to an entity that provides some health care to a

patient and needs access to that patient’s protected health information in order to insure that it

receives payment for that care. That definition surely cannot be stretched to include a

pharmaceutical sales representative accessing patients’ medical files fill out a paperwork relating

to the payment of the drug (and not directly for Warner Chilcott’s benefit).

               3.      Sales Representative #1 was not a “Business Associate” of the Defendant

       45 C.F.R. § 164.502(a)(3) provides that “a business associate may use or disclose

protected health information only as permitted by its business associate contract...” To that end,

while a covered entity may disclose protected health information to a business associate, it may



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only do so through and pursuant to a “business associate contract,” the requirements for which

are set forth at length in 45 C.F.R. 164.504(e). Here, there is no allegation (nor any fact known

to the government) that the defendant had a business associate contract with Sales Representative

#1 that permitted Sales Representative #1 to have access to her patients’ medical files.

       None of the exceptions to the prohibition on the disclosure of protected patient

information cited by the defendant apply to the conduct charged in the superseding indictment.

Notably, the impact of the defendant’s arguments are far reaching: the defendant’s interpretation

of the exceptions to HIPAA’s rules against disclosing protected health information would mean

that every single pharmaceutical company, and every single pharmaceutical sales representative,

could access to patients’ protected health information without patient consent. This result is

certainly was not what Congress and HHS had in mind in creating exceptions to the rigid rules

prohibiting disclosure in order to effectuate the treatment of a patient, or the payment of

treatment for a patient. Indeed, if that were the case, the regulations would specifically define

pharmaceutical companies, or manufacturers of pharmaceutical products, as health care

providers.

       Moreover, and consistent with the definitions in the regulations cited above, courts have

noted that the treatment exception applies when the third party is a person or entity involved in

the actual provision of health care. See e.g. Gard v. Harris, 2010 WL 844810, at *4 (Tenn. Ct.

App. Mar. 11, 2010) (Letter sent by a specialist to the referring physician about the patient’s

alleged opioid addiction did not violate HIPAA.); DelleCurti v. Walgreen Co., 70 N.E.3d 111,

115 (2016) (Pharmacist who called another pharmacist to advise against filling a certain patient’s

prescription did not violate HIPAA).




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       B.       Count Two Specifically Alleges that the Defendant Acted with Corrupt Intent in
                Directing Medical Assistant #1 to lie to Special Agents

       In an apparent contradiction to her argument that federal law allows the disclosure of

patients’ protected health information to pharmaceutical companies and pharmaceutical sales

representatives, the defendant argues that Count Two, which charges her with witness tampering,

fails to state an offense because she was simply advising her medical assistant to invoke her Fifth

Amendment right against self-incrimination. See Def. Mot. at 19-21. There is no merit to this

argument.

       The superseding indictment contains the following allegations with respect to Count

Two:

               On February 10, 2014, the defendant told Special Agents that Sales
                Representative #1 did not have access to patients’ protected health
                information;
               The defendant thereafter called Medical Assistant #1 and told
                Medical Assistant #1 to tell Special Agents that Medical Assistant
                #1 did not share any medical records;
               The defendant told Medical Assistant #1 that Sales Representative
                #1 got them in trouble;
               The next day, on or around February 11, 2014, the defendant again
                ordered Medical Assistant #1 to tell Special Agents that Medical
                Assistant #1 did not show any medical records to Sales
                Representative #1; and
               The defendant told Medical Assistant #1 that there is a HIPAA law
                and there would be hefty fines for them both if people found out
                that they shared medical records.

S. Indict. ¶ 17. In sum, the allegations are that the defendant (1) knew Sales Representative #1

had accessed her patients’ medical records, (2) knew that such access was in violation of

HIPAA, and (3) believed that she and Medical Assistant #1 would be in trouble if people found

out that Sales Representative #1 had accessed her patients’ medical records. These allegations

are sufficient to state an offense for witness tampering as prohibited by 18 U.S.C. § 1512(b)(3).



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       The defendant’s argument – that the allegations suggest nothing more than a benign

suggestion to Medical Assistant #1 that she exercise her Fifth Amendment right against self-

incrimination and therefore does not contain any allegation of a corrupt intent – ignores the fact

that the defendant is alleged to have acted out of her own self-interest. At the heart of the

allegation is the fact that the defendant believed she would be in trouble if Medical Assistant #1

told Special Agents that Sales Representative #1 had access to the defendant’s patients’ medical

records, and so directed her employee to provide contrary information to Special Agents. The

defendant’s argument that this advice was “not inherently malign” falls apart in the face of an

allegation that she was directing someone over whom she had economic power to make a false

statement to Special Agents about a matter in which she was personally interested. See United

States v. Cioffi, 493 F.2d 1111, 1119 (2d Cir. 1974) (affirming jury instruction that “one who

bribes, threatens, coerces a witness to claim [the Fifth Amendment] or advises with corrupt

motive a witness to take it, can and does obstruct or influence the administration of justice.”).

       C.      Count Three Specifically Charges the Defendant With Obstructing a Criminal
               Health Care Investigation by Lying to Special Agents

       The defendant argues that Count Three, charging her with obstruction of a criminal health

care investigation, fails to state an offense because it does not allege either a falsehood or that the

defendant knew she was making a false statement. The plain language of the indictment

demonstrates otherwise.

       Count Three alleges that the defendant “willfully prevented, obstructed, misled, and

delayed, or attempted to prevent, obstruct, mislead, and delay the communication of information

and records relating to a violation of a Federal health care offense to a federal investigator.” S.

Indict. ¶ 19. The indictment goes on to specify that the defendant did so by providing

“information she knew to be false to agents assigned to the HHS agents…” Id.

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       This language alone is sufficient to state an offense, but the indictment goes on to

describe with particularity the dates on which the defendant is alleged to have made false

statements, the nature of the statements, and that the defendant knew the statements were false.

Count Three alleges that, on or around February 10, 2014, the defendant told Special Agents that

Warner Chilcott paid her to read studies and provide her opinion. Id. at ¶ 20. Approximately

one month later, on March 7, 2014, the defendant was again interviewed by Special Agents and,

this time, stated that she was paid $3,250 in 2010 for training to become a speaker and $19,500

in 2011 for a research paper that she wrote for Warner Chilcott. Id. at ¶ 21. In fact, as alleged in

the indictment, Warner Chilcott paid the defendant $23,500 for speaker training and 31 “med ed”

events at which she earned a “speaker” fee solely for talking to Sales Representative #1 (id. at

¶¶ 5-6). The statutory and factual bases for Count Three sufficiently alleges a crime and apprises

the defendant of the specific charge against her.

       The defendant’s argument that Count Three does not state an offense because it includes

a sentence that the government knows to be true is incorrect. The alleged statement – that the

defendant “stated that she gave a copy of the paper to Warner Chilcott and sent a copy to the

World Health Organization” – cannot and should not be read in isolation.3 The allegation is that

the defendant told Special Agents that she was paid to write a specific paper and that the

statement was false because Warner Chilcott had not paid her to write the paper. The fact that

the defendant doubled down on her false statements to Special Agents and told them that she had

sent the paper to Warner Chilcott and the World Health Organization has no bearing on the

ultimate issue of whether she lied to agents about why she was paid by Warner Chilcott.



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        The government has no information about whether the defendant sent the alleged paper
to the World Health Organization.

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       D.      The Charges in the Superseding Indictment are not Duplicitous and are Alleged
               with Sufficient Specificity

       While the defendant argues that Counts One though Three are duplicitous and lack

specificity, her motion to dismiss evidences that she has a clear understanding of exactly what

she is alleged to have done wrong. The details that the defendant claims are vague or lacking in

Counts One through Three are not necessary for purposes of evaluating the sufficiency of a

pleading. For example, the defendant argues that Count One fails to allege “which particular

patient or patients had their individually identifiable health information disclosed to the Warner

Chilcott sales representative.” Def. Mot. at 15. This information is not required. In fact, in

United States ex rel. McDermott v. Genentech, Inc., the court stressed that “[a]t no time did the

First Circuit suggest that pleading in the necessary degree of specificity should include

information that identified or could be used to identify individual patients.” No. 05-147-P-C,

2006 U.S. Dist. LEXIS 90586, *40 (D. Me. Dec. 14, 2006) (emphasis added). See also United

States v. Stringer, 730 F.3d 120, 127 (2d Cir. 2013) (“we conclude that, notwithstanding the

failure of Stringer's indictment to name the persons whose means of identification were used in

the commission of bank fraud, the indictment was constitutionally adequate”). Similarly, the

defendant argues that Count One does not allege “on which particular date or dates the

information was allegedly disclosed.”4 Def. Mot. at 15. But the First Circuit has held that a

general timeframe – which was alleged in the indictment – is permissible when “the exact time

of the crime’s commission is not important under the statute allegedly violated.” United States v.



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         The defendant is essentially asking for a heightened pleading standard for charges
where one is not, and never has been, required. See, e.g., United States v. Huet, 665 F.3d 588,
598 (3d Cir. 2012) (declining to heighten pleading standard beyond that required for Rule 7(c)(1)
for aiding and abetting a felon in possession of a firearm where no higher pleading standard had
ever been required).

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Nunez, 687 F.2d 10, 12 (1st Cir. 1981) (citing 1 Wright, Federal Practice and Procedure:

Criminal § 125 at 246-47; United States v. Antonelli, 439 F.2d 1068, 1070 (1st Cir. 1971)).

       The defendant further argues that Counts One through Three should be dismissed as

duplicitous because they contains allegations that could be charged separately. This argument

fails as a matter of law. First, the fact that conduct may be charged separately does not mean it

has to be. See United States v. Root, 585 F.3d 145, 150-55 (3d Cir. 2009) (tax evasion for

multiple years could be charged in one count as a scheme of tax evasion); United States v.

Cohen, 35 F.R.D. 227, 231 (N.D. Cal. 1964) (multiple phone calls could be charged as one

offense or multiple offenses). Second, duplicity is not fatal to an indictment. See United States

v. Caceres-Prado, 601 F. Supp. 468, 471 (D. P.R. 1984) (citing 1 Wright & Miller, Criminal,

Section 142 at 474-75 (1982)); United States v. Droms, 566 F.2d 361, 363 n.1 (2d Cir. 1977).

Duplicitous counts “may be segregated into a single count, or the Government may be ordered to

elect on which count it will proceed.” Caceres-Prado, 601 F. Supp. at 470.

II.    THE GOVERNMENT WAS ENTITLED TO INTRODUCE EVIDENCE ABOUT
       WARNER CHILCOTT AND THE DEFENDANT’S RELATIONSHIP WITH
       WARNER CHILCOTT TO THE GRAND JURY

       In a final attempt to persuade the Court to dismiss the superseding indictment, with no

bases in law or fact, the defendant accuses the government of misconduct before the grand jury.

Ignoring the fact that she is charged with lying to Special Agents about why she was paid by

Warner Chilcott, the defendant complains that the government improperly introduced to the

grand jury evidence of its investigation into Warner Chilcott and the defendant’s financial

relationship with Warner Chilcott. In fact, this evidence was properly introduced to the grand

jury to provide context as to why Special Agents interviewed the defendant in the first place, and

why her statements are believed to be false. The evidence the government elicited before the



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grand jury was entirely appropriate, there was absolutely no misconduct, and the defendant’s

motion to dismiss the superseding indictment on this ground should be denied.

                                          CONCLUSION

        For the reasons stated above, the Court should deny the defendant’s motion to dismiss.


                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                               By:      /s/ Miranda Hooker
                                                       Miranda Hooker, BBO# 661569
                                                       Youngik Paik, BBO# 660896
                                                       Assistant U.S. Attorneys
                                                       U. S. Attorney's Office
                                                       John Joseph Moakley
                                                       United States Courthouse
                                                       1 Courthouse Way, Suite 9200
                                                       Boston, MA 02210

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                                              /s/ Miranda Hooker
                                              Miranda Hooker
                                              Assistant United States Attorney

DATE: March 14, 2018




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